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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                            §    Chapter 7
                                                  §
ALEXANDER E. JONES                                §    Case No. 22-33553
                                                  §
         Debtor.                                  §


 ORDER AUTHORIZING PAYMENT OF FINAL FEE APPLICATION OF CROWE &
  DUNLEVY, P.C. AS CO-COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
               DECEMBER 02, 2022, THROUGH JUNE 14, 2024
         ON THIS DATE this Court considered the Final Fee Application of Crowe & Dunlevy,

P.C. (“C&D”) Co-counsel for the Debtor for Allowance and Payment of Fees and Expenses for

the Period from December 02, 2022 Through June 14, 2024 (the “Application”). The Court finds

that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334(b); that this is a core

proceeding pursuant to 28 U.S.C. § 157(b), and that the venue of this proceeding in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409. The Court has considered the Application and any

objections prior to the signing of this order.

Accordingly, IT IS HEREBY ORDERED THAT:
1.       The Application is GRANTED as set forth therein.

2.       C&D is awarded $4,337,267.50 for professional fees and services provided during the

Application Period of December 02, 2022, through June 14, 2024.

3.       C&D is awarded $140,050.79 for reimbursement of actual and necessary expenses incurred

by C&D during the Application Period.

4.       Notice of the Application provided by C&D is deemed to be good and sufficient notice of

the Application, and the requirements of the Local Rules are satisfied by the contents of the

Application.
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5.       The Court retains jurisdiction with respect to all matters arising from or related to the

implementation of this Order.

         IT IS FURTHER ORDERED that, notwithstanding any Bankruptcy Rule to the contrary,

the terms and conditions of this Order shall be immediately effective and enforceable upon its

entry.



         Dated: ___________, 2024             _______________________________________
                                              CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




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